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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                         June 09, 2022
                    UNITED STATES DISTRICT COURT
                                                                      Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

TIMOTHY L. BOURGEOIS, et al.,
                            §
                            §
        Plaintiffs,         §
VS.                         § CIVIL ACTION NO. 3:22-CV-146
                            §
SELECT PORTFOLIO SERVICING, §
INC., et al.,               §
                            §
        Defendants.         §

                                   ORDER
      On May 19, 2022, the defendants Hughes, Watters & Askanase, L.L.P.,

and Anthony Garcia moved to dismiss the plaintiffs’ suit. Dkt. 6. The motion

was not accompanied by a certificate of conference as required by Local Rule

6, which states that the court will sua sponte grant an opportunity to amend

when a movant has not followed this rule. See Galveston District Court Rules

of Practice. 1 The plaintiffs filed their amended complaint on June 5, outside

the 14-day window contemplated by Local Rule 6. On June 6, the plaintiffs

moved to remand. Dkt. 9. On June 8, the defendant Select Portfolio

Servicing, Inc., moved to strike the amended complaint because it was filed

more than 21 days after the defendant’s responsive pleading and the

plaintiffs did not seek leave of court. Dkt. 10. On June 8, the plaintiffs moved


      1  Available at https://www.txs.uscourts.gov/sites/txs/files/Galveston
DistrictCourtRulesofPractice.pdf.
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to continue their response date to the motion to dismiss until after the court

resolves the motion to remand.

     Having all that before it, the court GRANTS the motion to strike the

amended complaint. Dkt. 10. It is hereby ordered that Dkt. 8 is STRICKEN.

The court GRANTS the motion for continuance, Dkt. 11, and orders that the

response to the motion to dismiss, Dkt. 6, is continued until the court’s

resolution of the motion to remand, Dkt. 9.

     Signed on Galveston Island this 9th day of June, 2022.



                                     ___________________________
                                     JEFFREY VINCENT BROWN
                                     UNITED STATES DISTRICT JUDGE




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